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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, et al.,

        Plaintiffs,                                               Case No. 1:20-cv-1141

 v.                                                               HON. JANET T. NEFF

 GRETCHEN WHITMER, et al.,

        Defendants.

 ____________________________/


                                           ORDER

       Pending before the Court is Defendants’ Renewed Request for Pre-Motion Conference

(ECF No. 38), proposing to file a motion to dismiss the Complaint in this case; and Plaintiffs’

Request for a Pre-Motion Conference (ECF No. 39), proposing to file a motion for summary

judgment in their favor on Count I (Violation of the Supremacy Clause) and Count III (Violation

of Foreign Commerce Clause and Foreign Affairs Doctrine) of their Complaint. Having reviewed

the requests and the respective responses (ECF Nos. 41 & 40) and being familiar with the case

circumstances, the Court will issue a briefing schedule without the usual conference, with

modifications to the page limits. See W.D. Mich. LCivR.7.1(c). Therefore,

       IT IS HEREBY ORDERED that the briefing schedule is as follows:

          (1) Defendants’ Motion to Dismiss and Plaintiffs’ Motion for Partial Summary
              Judgment, limited to 35 pages each, shall be served and proofs of service
              filed not later than January 18, 2022;

          (2) Any briefs from amici in support of Defendants’ Motion to Dismiss or
              Plaintiffs’ Motion for Partial Summary Judgment, limited to four amici


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                briefs each and limited to 15 pages each, shall be served and a proof of
                service filed within 14 days of service of the Motions;

            (3) The parties’ Responses, limited to 30 pages each, shall be served and proofs
                of service filed within 42 days of service of the Motions;

            (4) Any briefs from amici in support of the Parties’ Responses, limited to four
                amici briefs each and limited to 15 pages each, shall be served and a proof
                of service filed within 14 days of the respective Response;

            (5) The parties’ Replies, limited to 20 pages each, shall be served and proofs of
                service filed within 35 days of service of the Responses; and

            (6) The parties and amici shall electronically file their respective motion papers
                as soon as each motion is fully briefed.

        IT IS FURTHER ORDERED that the parties shall collaborate and file a single Joint

 Statement of Material Facts, setting forth in numbered paragraphs, separate, short and concise

 statements of the material facts that are not in dispute. The Joint Statement shall be filed as a

 separate document on CM/ECF. To the extent the parties rely on additional material facts to

 support their arguments, those facts shall be concisely set forth in their respective motion briefs.

        IT IS FURTHER ORDERED that the parties shall collaborate and file a Joint Exhibit

 Book to avoid duplicative exhibits.

        IT IS FURTHER ORDERED that the parties shall adhere to this Court’s Local Civil Rule

 10.9 when referencing a page of the record. See W.D. Mich. LCivR 10.9.

        IT IS FURTHER ORDERED that Defendants shall provide chambers with one three-ring

binder containing one-sided paper courtesy copies of their motion to dismiss, the response, the reply,

any amicus briefs, and any exhibits, after electronic filing (i.e., with the header) and properly tabbed.

The binder shall be submitted directly to Judge Neff’s chambers.

        IT IS FURTHER ORDERED that Plaintiffs shall provide chambers with one three-ring

binder containing one-sided paper courtesy copies of their motion for partial summary judgment, the



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response, the reply, any amicus briefs, and any exhibits, after electronic filing (i.e., with the header)

and properly tabbed. The binder shall be submitted directly to Judge Neff’s chambers.

        IT IS FURTHER ORDERED that the parties shall otherwise adhere to the requirements

 for briefing and filing dispositive motions, as set forth in Judge Neff’s Information and Guidelines

 for Civil Practice, available on the Court’s website (www.miwd.uscourts.gov).

        IT IS FURTHER ORDERED that the time for filing answers/responsive pleadings to the

 Complaint (ECF No. 1) is extended until further Order of the Court.


 Dated: December 9, 2021                                           /s/ Janet T. Neff
                                                                JANET T. NEFF
                                                                United States District Judge




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